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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 Inventergy LBS, LLC,                                    Case No. ________________
                       Plaintiff,                        Patent Case
                       v.                                Jury Trial Demanded
 Amer Sports Winter & Outdoor Company,

                       Defendant.


                            COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Inventergy LBS, LLC (“Inventergy”), through its attorney, Isaac Rabicoff,

complains of Amer Sports Winter & Outdoor Company (“Amer”), and alleges the following:

                                             PARTIES

       1.      Plaintiff Inventergy LBS, LLC is a corporation organized and existing under the

laws of Delaware and maintains its principal place of business at 900 East Hamilton Avenue,

Campbell, CA 95008.

       2.      Defendant Amer Sports Winter & Outdoor Company is a corporation organized

and existing under the laws of Delaware that maintains its principal place of business at 2030

Lincoln Avenue, Ogden, UT 84401.

                                          JURISDICTION

       3.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




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        5.      This Court has personal jurisdiction over Amer because it has engaged in

systematic and continuous business activities in the District of Delaware. Specifically, Amer

provides a full range of products to residents in this District. Amer is also incorporated in the

state of Delaware. As described below, Amer has committed acts of patent infringement giving

rise to this action within this District.

                                               VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Amer has

committed acts of patent infringement in this District and is incorporated in the state of

Delaware. In addition, Inventergy has suffered harm in this district.

                                        THE PATENTS-IN-SUIT

        7.      Inventergy is the assignee of all right, title and interest in United States Patent No.

9,219,978 (the “’978 Patent”) and United States Patent No. 9,781,558 (the “’558” Patent)

(collectively the “Patents-in-Suit”), including all rights to enforce and prosecute actions for

infringement and to collect damages for all relevant times against infringers of the Patents-in-

Suit. Accordingly, Inventergy possesses the exclusive right and standing to prosecute the present

action for infringement of the Patents-in-Suit by Amer.

The ’978 Patent

        8.      On December 22, 2015, the United States Patent and Trademark Office issued the

’978 Patent. The ’978 Patent is titled “System and Method for Communication with a Tracking

Device.” The application leading to the ’978 Patent was filed on June 24, 2015; which was a

divisional application of U.S. Patent Application No. 13/443,180, that was filed on April 10,

2012; which was a continuation of U.S. Application No. 12/322,941, that was filed on February

9, 2009; which claims priority from provisional application number 61/065,116, that was filed on




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February 8, 2008. A true and correct copy of the ’978 Patent is attached hereto as Exhibit A and

incorporated herein by reference.

       9.      The ’978 Patent is valid and enforceable.

       10.     The inventors recognized that there was a need for a system and method for

providing enhanced communication with tracking devices, while minimizing power consumption

and network air time. Ex. A, 1:45–51.

       11.     The invention in the ’978 Patent provides a tracking device with a location

detector, communication device, memory processor and configuration routine. Id. at 2:1–3.

The ’558 Patent

       12.     On October 3, 2017, the United States Patent and Trademark Office issued the

’558 Patent. The ’558 Patent is titled “System and Method for Communication with a Tracking

Device.” The application leading to the ’558 Patent was filed on December 7, 2015; which was a

divisional application of U.S. Patent Application No. 14/313,339, that was filed on June 24,

2014; which was a division of U.S. Application No. 13/443,180, that was filed on April 10,

2012; which was a continuation of U.S. Application No. 12/322,941, that was filed on February

9, 2009; which claims priority from provisional application number 61/065,116, that was filed on

February 8, 2008. A true and correct copy of the ’558 Patent is attached hereto as Exhibit B and

incorporated herein by reference.

       13.     The ’558 Patent is valid and enforceable.

       14.     The inventors recognized that there was a need for a system and method for

providing enhanced communication with tracking devices, while minimizing power consumption

and network air time. Ex. B, 1:48–54.




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       15.     The invention in the ’558 Patent provides a tracking device with a location

detector, communication device, memory processor and configuration routine. Id. at 2:4–6.

                        COUNT I: INFRINGEMENT OF THE ’978 PATENT

       16.     Inventergy incorporates the above paragraphs herein by reference.

       17.     Direct Infringement. Amer has been and continues to directly infringe at least

Claim 1 of the ’978 Patent in this District and elsewhere in the United States by providing a

system, for example, Amer’s Suunto 9 Baro, that satisfies the preamble of Claim 1: “[a] tracking

device.” For example, Amer’s Suunto 9 Baro is a tracking device. See

https://www.suunto.com/en-us/Products/Sports-Watches/suunto-9-baro/suunto-9-baro-black/;

Figure 1.




                      Figure 1. Amer’s Suunto 9 Baro is a tracking device.

       18.     Amer’s Suunto 9 Baro satisfies claim element 1(a): “a location detector operative

to determine locations of said tracking device.” For example, Amer’s Suunto 9 Baro tracks

location using a built-in receiver supporting GPS and works digitally. See Figure 2.




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  Figure 2. Amer’s Suunto 9 Baro location using a built-in receiver supporting GPS and works
                                          digitally.

       19.     Amer’s Suunto 9 Baro satisfies claim element 1(b): “a communication device

operative to communicate with a remote system.” For example, Amer’s Suunto 9 Baro has a

communication device, such as a built-in transceiver, that is capable of cellular or satellite

communication. See Figure 3.




   Figure 3. Amer’s Suunto 9 Baro has a communication device that is capable of cellular or
                                  satellite communication.

 See https://www.suunto.com/en-us/Support/faq-articles/movescount/how-do-i-pair-my-suunto-
                 spartan-with-suunto-movescount-app-iphone/; Figure 4.




   Figure 4. Amer’s Suunto 9 Baro has a communication device that is capable of cellular or
                                  satellite communication.


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       20.     Amer’s Suunto 9 Baro satisfies claim element 1(c): “memory for storing data and

code, said data including location data determined by said location detector and configuration

data.” For example, Amer’s Suunto 9 Baro has on-board memory capable of storing location

data. See Figure 5.




    Figure 5. Amer’s Suunto 9 Baro has on-board memory capable of storing location data.

       21.     Amer’s Suunto 9 Baro satisfies claim element 1(d): “a processor operative to

execute said code to impart functionality to said tracking device, said functionality of said

tracking device depending at least in part on said configuration data.” For example, Amer’s

Suunto 9 Baro includes a processor that executes code to determine the location of the Suunto 9

Baro and sends reports of its location over a set period of time. See Figs. 1-5.

       22.     Amer’s Suunto 9 Baro satisfies claim element 1(e): “a configuration routine

operative to modify said configuration data responsive to a communication from said remote

system.” For example, Amer’s Suunto 9 Baro can be configured to various reporting plans which

determine how frequently location is reported. See Figure 6.




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 Figure 6. Amer’s Suunto 9 Baro can be configured to various reporting plans which determine
                             how frequently location is reported.

       23.     Amer’s Suunto 9 Baro satisfies claim element 1(f): “a buffering routine operative

to buffer location data indicative of a plurality of said locations when said communication device

is unable to communicate with said remote system.” For example, Amer’s Suunto 9 Baro

receives location data at fixed intervals and stores the location data in its memory if the device

cannot communicate with Amer’s server. See Fig. 5.

       24.     Amer’s Suunto 9 Baro satisfies claim element 1(g): “a reporting routine operative

to transmit said location data indicative of said plurality of said locations when said

communication device is able to communicate with said remote system.” For example, Amer’s

Suunto 9 Baro has a reporting mechanism that is activated when requested if the communication

server cannot communicate with the Suunto 9 Baro and leaving data stored in the tracking

device’s memory. See Figs. 1-6.

                         COUNT II: INFRINGEMENT OF THE ’558 PATENT



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       25.     Inventergy incorporates the above paragraphs herein by reference.

       26.     Direct Infringement. Amer has been and continues to directly infringe at least

Claim 31 of the ’558 Patent in this District and elsewhere in the United States by providing a

system, for example, Amer’s Suunto 9 Baro, that satisfies the preamble of Claim 31: “[a]

tracking device.” For example, Amer’s Suunto 9 Baro is a tracking device. See Fig. 1.

       27.     Amer’s Suunto 9 Baro satisfies claim element 31(a): “a location detector

operative to determine locations of said tracking device.” For example, Amer’s Suunto 9 Baro

tracks location using a built-in receiver supporting GPS and works digitally. See Fig. 2.

       28.     Amer’s Suunto 9 Baro satisfies claim element 31(b): “a communication device

operative to communicate with a remote system.” For example, Amer’s Suunto 9 Baro has a

communication device, such as a built-in transceiver, that is capable of cellular or satellite

communication. See Figs. 3-4.

       29.     Amer’s Suunto 9 Baro satisfies claim element 31(c): “memory for storing data

and code, said data including location data determined by said location detector and

configuration data.” For example, Amer’s Suunto 9 Baro has on-board memory capable of

storing location data. See Fig. 5.

       30.     Amer’s Suunto 9 Baro satisfies claim element 31(d): “a processor operative to

execute said code to impart functionality to said tracking device, said functionality of said

tracking device depending at least in part on said configuration data.” For example, Amer’s

Suunto 9 Baro includes a processor that executes code to determine the location of the XT4700

Series and sends reports of its location over a set period of time. See Figs. 1-5.

       31.     Amer’s Suunto 9 Baro satisfies claim element 31(e): “a configuration routine

operative to modify said configuration data responsive to a communication from said remote




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system.” For example, Amer’s Suunto 9 Baro can be configured over-the-air to various reporting

plans which determine how frequently location is reported. See Figure 7.




Figure 7. Amer’s Suunto 9 Baro can be configured over-the-air to various reporting plans which
                        determine how frequently location is reported.

       32.     Amer’s Suunto 9 Baro satisfies claim element 31(f): “a reporting routine

operative to transmit said location data indicative of said plurality of said locations when said

communication device is able to communicate with said remote system.” For example, Amer’s

Suunto 9 Baro has a reporting mechanism that is activated when requested if the communication

server cannot communicate with the Suunto 9 Baro and leaving data stored in the tracking

device’s memory. See Figure 8.




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 Figure 8. Amer’s Suunto 9 Baro has a reporting mechanism that is activated when requested if
 the communication server cannot communicate with the Suunto 9 Baro and leaving data stored
                              in the tracking device’s memory.

        33.     Amer’s Suunto 9 Baro satisfies claim element 31(g): “wherein said operational

data is indicative of battery status.” For example, Amer’s Suunto 9 Baro is capable of reading the

voltage of the battery of the device at fixed intervals and sending a report for the last voltage

reading. See Fig. 8.

                                            JURY DEMAND

        Under Rule 38(b) of the Federal Rules of Civil Procedure, Inventergy respectfully

requests a trial by jury on all issues so triable.

                                         PRAYER FOR RELIEF

        WHEREFORE, Inventergy asks this Court to enter judgment against Amer, granting the

following relief:

       A.      A declaration that Amer has infringed the Patents-in-Suit;

       B.      An award of damages to compensate Inventergy for Amer’s direct infringement of

               the Patents-in-Suit;

       C.      An order that Amer and its officers, directors, agents, servants, employees,

               successors, assigns, and all persons in active concert or participation with them, be


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          preliminarily and permanently enjoined from infringing the Patents-in-Suit under

          35 U.S.C. § 283;

   D.     An award of damages, including trebling of all damages, sufficient to remedy

          Amer’s willful infringement of the Patents-in-Suit under 35 U.S.C. § 284;

   E.     A declaration that this case is exceptional, and an award to Inventergy of

          reasonable attorneys’ fees, expenses and costs under 35 U.S.C. § 285;

   F.     An accounting of all damages not presented at trial;

   G.     An award of prejudgment and post-judgment interest; and

   H.     Such other relief as this Court or jury may deem proper and just.


   Date: February 6, 2019                Respectfully submitted,

                                         /s/ Timothy Devlin
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